                                        Harris County Criminal District Docket Sheet

THE STATE OF TEXAS VS. MORALES, ERIC                                                            Bond: $100,000
Cause No.: 180533401010-3 Court: 174th                                                          Set: 02/07/2023
Offense: MANSLAUGHTER                                      Level: 2nd Degree Felony             Next Setting:
Charging Instrument: Felony Indictment                                                          Case Disposition:
                                                                                                Case Status:      Active - CRIMINAL
                                                                                                Defendant Status: Bond Made
GENERAL ORDERS OF THE COURT



                                                    Docket Sheet Entries




                                                                                                         k
          Date            Comment




                                                                                                      ler
         2/2/2023         GRAND JURY ACTION: Felony Indictment GJ COURT: 176




                                                                                                   tC
                          OFFENSE: MANSLAUGHTER              2nd Degree Felony
                          BOND AMOUNT: $0; Exception: REFER TO MAGISTRATE




                                                                                               ric
         2/2/2023         CAPIAS ISSUED²INDICTMENT
                          BOND AMOUNT: $0




                                                                                            ist
         2/2/2023         Precept issued to serve copy of indictment




                                                                                         sD
         2/6/2023         ORDER: FINANCIAL AFFIDAVIT FILED

         2/6/2023         DEFENDANT NOT PRESENT                        , 2/08/2023 09:00 AM Preliminary Assigned Court Appearance




                                                                                     es
         2/7/2023         Bond Raised to $100,000




                                                                                 rg
         2/7/2023         BOND RAISED TO $100,000
                                                                             Bu
                                                                         n
         2/7/2023         PC Previously Found
                                                                   ily

         2/7/2023         BOND APPROVED AMOUNT $100,000
                                                               ar


                          TYPE: SURETY TIME: 1116
                          BONDSMAN: ACC-BLACKWOOD JR, EDWARD
                                                          M




         2/7/2023         BOND FILED AMOUNT $100,000
                          TYPE: SURETY TIME: 2135
                                                       of




                          BONDSMAN: ACC-BLACKWOOD JR, EDWARD
         2/7/2023         ORDER: DEFENDANT NOT PRESENT 2200 DOCKET
                                                    e
                                              ffic




         2/7/2023         ORDER: FINANCIAL AFFIDAVIT FILED
                                          O




         2/7/2023         ORDER: PRETRIAL COURTESY SUPERVISION GRANTED
                                      y




         2/7/2023         ORDER: GRTD BND $100000 H/O CD
                                   op




         2/8/2023
                               C




         2/8/2023         Defendant MORALES, ERIC appeared without counsel
                           ial
                       fic




         2/8/2023         ORDER: PRETRIAL COURTESY SUPERVISION GRANTED
                      of




         2/8/2023         Reset By Operation Of Law, 3/31/2023 09:00 AM Arraignment
                    Un




        3/31/2023

        3/31/2023         ORDER: PTRL COURTESY SUPV AMND

        3/31/2023         Reset Upon Defense Request, 7/18/2023 09:00 AM Motion Hearing

        7/18/2023

        7/18/2023         Reset Upon Defense Request, 10/25/2023 09:00 AM Motion Hearing



                                                                                                                              Page 1 of 2

                                                                                                                    3/25/2024 8:38:15 AM
                            Harris County Criminal District Docket Sheet
10/25/2023

10/25/2023     Defendant MORALES, ERIC appeared with counsel DEBORDE, NICOLE WIGNALL.

10/25/2023     Reset Upon Defense Request, 1/25/2024 09:00 AM Pre-Trial Conference

1/25/2024

1/25/2024      Defendant MORALES, ERIC appeared with counsel DEBORDE, NICOLE WIGNALL.

1/25/2024      PROBABLE CAUSE FOUND, STATUTORY WARNINGS GIVEN TO DEFENDANT




                                                                                             k
1/25/2024      ORDER: PTRL SUPERVISION BOND CONDITIONS AMENDED




                                                                                          ler
1/25/2024      Reset Upon Defense Request 5/02/2024 09:00 AM Pre-Trial Conference




                                                                                       tC
 5/2/2024




                                                                                   ric
 5/2/2024      On Docket In Error, 5/02/2024 09:00 AM Pre-Trial Conference




                                                                                ist
                                                                             sD
                                                                      es
                                                                  rg
                                                             Bu
                                                          n
                                                      ily
                                                   ar
                                              M
                                           of
                                       e
                                  ffic
                           y  O
                        op
                    C
                ial
              fic
              of
            Un




                                                                                                     Page 2 of 2

                                                                                            3/25/2024 8:38:15 AM
